1                                                                     Honorable Christopher M. Alston
                                                                            March 20, 2020; 9:30 a.m.
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6                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
7
     In re:                                            )   Chapter 7
8                                                      )   Bankruptcy No. 18-13383
     JACK CARLTON CRAMER JR.,                          )
9                                                      )   DECLARATION OF RORY C. LIVESEY
                     Debtor(s).                        )   IN SUPPORT OF TRUSTEE’S MOTION
10                                                     )   FOR SALE OF REAL PROPERTY OF
                                                       )   THE ESTATE
11
              The undersigned makes the following statement under penalty of perjury:
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              1.     I am over 18 years of age, am competent to testify to the statements herein and make
13
     the statements herein based on facts personally known to me.
14
              2.     I am the attorney for Edmund J. Wood, the Chapter 7 trustee in the above-captioned
15
     bankruptcy.
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              3.     Attached hereto is a copy of the purchase and sale agreement entered into between
17
     the trustee and Carlos and Autumn Salazar for the real property located at 15605 - 63rd Avenue N.E.,
18
     Kenmore, Washington 98028. The sale price is $606,000.
19
              DATED this 14th day of February, 2020.
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22                                                         /S/ Rory C. Livesey

23                                                 Rory C. Livesey

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     DECLARATION OF RORY C. LIVESEY
     IN SUPPORT OF TRUSTEE’S MOTION FOR                                    THE LIVESEY LAW FIRM
                                                                           600 Stewart Street, Suite 1908
     SALE OF REAL PROPERTY OF THE ESTATE                                   Seattle, WA 98101
     191211eDec Page 1                                                     (206) 441-0826
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